                                        Case 2:17-cv-00822-DLR Document 412 Filed 10/11/22 Page 1 of 2



                               1   Kristy L. Peters, Bar No. 024756
                                   kpeters@littler.com
                               2   Andrea G. Lovell, Bar No. 019882
                                   alovell@littler.com
                               3   LITTLER MENDELSON, P.C.
                                   Camelback Esplanade
                               4   2425 East Camelback Road
                                   Suite 900
                               5   Phoenix, Arizona 85016
                                   Telephone: 602.474.3600
                               6   Fax No.:      602.957.1801
                               7   Attorneys for Defendant
                               8
                               9                               UNITED STATES DISTRICT COURT

                              10                               FOR THE DISTRICT OF ARIZONA

                              11   Talonya Adams,                                    Case No. CV-17-00822-PHX-DLR
                              12                  Plaintiff,                         SATISFACTION OF JUDGMENT
                              13   v.
                              14   Arizona Senate,
                              15                  Defendant.
                              16
                              17            Defendant hereby gives notice that the Judgment in a Civil Action (Doc. 384) against

                              18   Defendant has been satisfied in full. All monetary awards for Plaintiff as set forth in the

                              19   Judgment have been fully satisfied by Defendant.

                              20
                              21   Dated: October 11, 2022                        Respectfully submitted,
                              22
                                                                                  /s/ Kristy L. Peters
                              23                                                  Kristy L. Peters
                                                                                  Andrea G. Lovell
                              24                                                  LITTLER MENDELSON, P.C.
                              25                                                  Attorneys for Defendant
                              26
                              27
                              28
LITTLER MEND ELSO N, P.C.
     Camelback Esplanade
   2425 East Camelback Road
           Suite 900                                                                                SATISFACTION OF JUDGMENT
      Phoenix, AZ 85016
         602.474.3600
                                     Case 2:17-cv-00822-DLR Document 412 Filed 10/11/22 Page 2 of 2



                               1   I hereby certify that I electronically
                                   transmitted and attached this document
                               2   to the Clerk’s Office using the
                                   CM/ECF System for filing and
                               3   transmittal of a Notice of Electronic
                                   Filing to the following CM/ECF
                               4   registrants, and mailed a copy of same
                                   to the following if non-registrants, this
                               5   11th day of October, 2022, to:
                               6   Tolonya Adams
                                   P.O. Box 25401
                               7   Phoenix, AZ 85002
                                   talonya@gmail.com
                               8
                               9   Attorneys for Plaintiff
                              10
                                   s/ Aurea Bishop
                              11
                              12
                              13
                              14
                              15
                              16
                              17
                              18
                              19
                              20
                              21
                              22
                              23
                              24
                              25
                              26
                              27
                              28
LITTLER MEND ELSO N, P.C.
     Camelback Esplanade
   2425 East Camelback Road
           Suite 900                                                           2        SATISFACTION OF JUDGMENT
      Phoenix, AZ 85016
         602.474.3600
